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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR14-232-JLR
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   DAVID RICHARD SCHULTZ II,            )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Endangering Human Life While Manufacturing Controlled Substances;

15 Maintaining a Drug Involved Premises; Manufacturing Hash Oil and Marijuana; Forfeiture

16 allegations

17 Date of Detention Hearing:     September 22, 2014.

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 that no condition or combination of conditions which defendant can meet will reasonably

21 assure the appearance of defendant as required and the safety of other persons and the

22 community.



     DETENTION ORDER
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01         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02         1.      Defendant was indicted on the above-referenced charges on July 30, 2014. He

03 comes before this Court pursuant to a Writ of Habeas Corpus ad Prosequendum from the

04 custody of the Los Angeles County Central Men’s Jail in Los Angeles, California, where he

05 was serving a sentence for Manufacture of Controlled Substances. A plea of not guilty has

06 been entered and the matter is set for trial before the Honorable James L. Robart.

07         2.      Defendant was not interviewed by Pretrial Services. He does not contest

08 detention.

09         3.      Defendant poses a risk of nonappearance and a risk of danger due to lack of

10 verified background information and criminal history.

11         4.      There does not appear to be any condition or combination of conditions that will

12 reasonably assure the defendant’s appearance at future Court hearings while addressing the

13 danger to other persons or the community.

14 It is therefore ORDERED:

15      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

16         General for confinement in a correction facility separate, to the extent practicable, from

17         persons awaiting or serving sentences or being held in custody pending appeal;

18      2. Defendant shall be afforded reasonable opportunity for private consultation with

19         counsel;

20      3. On order of the United States or on request of an attorney for the Government, the

21         person in charge of the corrections facility in which defendant is confined shall deliver

22         the defendant to a United States Marshal for the purpose of an appearance in connection



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01        with a court proceeding; and

02     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

03        for the defendant, to the United States Marshal, and to the United State Pretrial Services

04        Officer.

05        DATED this 22nd day of September, 2014.

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                                                        A
                                                        Mary Alice Theiler
                                                        Chief United States Magistrate Judge
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     DETENTION ORDER
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